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                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                       BEAUMONT DIVISION

 FRANK DIGGS                                        §

 VS.                                                §                  CIVIL ACTION NO. 1:18cv94

 KOURTNEY HADNOT, ET AL.                            §

                              REPORT AND RECOMMENDATION
                           OF UNITED STATES MAGISTRATE JUDGE

         Plaintiff Frank Diggs, an inmate confined at the Stiles Unit of the Texas Department of
 Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this lawsuit against

 prison officials.

         The above-styled action was referred to the undersigned Magistrate Judge pursuant to 28

 U.S.C. § 636 and the Amended Order for the Adoption of Local Rules for the Assignment of Duties

 to the United States Magistrate Judge for findings of fact, conclusions of law, and recommendations

 for the disposition of the case.

                                          Factual Background

         Plaintiff complains that his property was confiscated without due process because he was not

 given a copy of the inventory sheet. Additionally, plaintiff claims false disciplinary charges were

 filed against him in retaliation for threatening to file grievances against the defendants. Plaintiff

 claims he was then denied due process at the disciplinary hearings.

                                          Standard of Review

         An in forma pauperis proceeding may be dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)

 if it: (1) is frivolous or malicious, (2) fails to state a claim upon which relief may be granted or (3)

 seeks monetary relief from a defendant who is immune from such relief.

         A complaint, containing as it does both factual allegations and legal conclusions, is frivolous

 where it lacks an arguable basis either in law or fact. Neitzke v. Williams, 490 U.S. 319, 325 (1989);

 Geiger v. Jowers, 404 F.3d 371, 373 (5th Cir.2005); McCormick v. Stalder, 105 F.3d 1059, 1061

 (5th Cir.1997). A complaint lacks an arguable basis in law if it is based on an indisputably meritless
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 legal theory. See Siglar v. Hightower, 112 F.3d 191, 193 (5th Cir.1997). A complaint lacks an

 arguable basis in fact if, after providing the plaintiff the opportunity to present additional facts when

 necessary, the facts alleged are clearly baseless. Denton v. Hernandez, 504 U.S. 25, 32 (1992).

         A complaint fails to state a claim upon which relief may be granted if the factual allegations

 are not sufficient to raise a right to relief above the speculative level. Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1965, 167 L.Ed.2d 929 (2007). Dismissal for failure to

 state a claim is appropriate when the plaintiff has failed to plead “enough facts to state a claim to

 relief that is plausible on its face.” Id, 127 S.Ct. at 1974. Plaintiffs must state enough facts to

 “nudge[] their claims across the line from conceivable to plausible.” Id.
         In considering whether to dismiss a complaint for failing to state a claim upon which relief

 may be granted, all factual allegations in the complaint must be taken as true and construed favorably

 to the plaintiff. Fernandez-Montes v. Allied Pilots Assoc., 987 F.2d 278, 284 (5th Cir. 1993).

 However, conclusory allegations will not suffice to prevent dismissal for failure to state a claim. Id.

                                                Analysis

         Exhaustion

         Section 1997e of the Civil Rights of Institutionalized Persons Act, 42 U.S.C. §§ 1997-1997j,

 requires prisoners to exhaust administrative remedies before initiating a prison conditions case. The

 statute provides in pertinent part the following: “No action shall be brought with respect to prison

 conditions under section 1983 of this title, or any other Federal law, by a prisoner confined in any

 jail, prison, or other correctional facility until such administrative remedies as are available are

 exhausted.” 42 U.S.C. § 1997e(a).

         The Texas Department of Criminal Justice, Correctional Institutions Division currently

 employs a two step grievance procedure which takes approximately 90 days to exhaust. The

 grievance procedures available for inmates confined in TDCJ-CID is outlined in the Offender

 Orientation Handbook. See http://www.tdcj.state.tx.us/publications/cid/publications-cid-offender-

 orientations-handbook.htm.

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           The first step of the grievance procedure, Step 1 (I-127 form), involves the prisoner

 submitting a grievance to the unit grievance coordinator. The Step 1 grievance must be submitted

 within 15 days from the date of the alleged incident. The unit grievance investigator will investigate

 the grievance, collect documents and other evidence, interview witnesses, draft an investigation

 report of findings and prepare a recommendation for the review of the decision maker. The

 authorized decision maker for a Step 1 grievance is the warden or assistant warden. Step 1 of the

 grievance process may take up to 40 days from the date the unit grievance office receives the Step

 1 form.

           The second step of the grievance procedure, Step 2 (I-128 form), involves the prisoner
 submitting an appeal to the division grievance investigator at TDCJ-CID headquarters. The division

 grievance investigator will investigate the grievance, collect documents and other evidence,

 interview witnesses, draft an investigation report of findings and prepare a recommendation for the

 review of the decision maker. The decision maker for a Step 2 grievance is the regional director or

 assistant director. The Step 2 process may take up to 35 days to provide a written response.

           Administrative remedies must be exhausted regardless of the type of relief sought in the

 lawsuit and regardless of whether the particular type of relief sought is available through the

 applicable grievance process. Booth v. Churner, 532 U.S. 731, 740-41 (2001). The exhaustion

 requirement applies to all inmate suits about prison life, whether they involve general circumstances

 or particular episodes. Porter v. Nussle, 534 U.S. 516, 532 (2002).

           In Jones v. Bock, 549 U.S. 199, 127 S.Ct. 910, 166 L.Ed.2d 798 (2007), the Supreme Court

 recognized that the failure to exhaust administrative remedies is an affirmative defense, and inmates

 are not required to plead or demonstrate exhaustion in their complaints. Id., 127 S.Ct. at 921.

 However, under Jones, if the complaint itself makes clear that the prisoner failed to exhaust

 administrative remedies, a district court sua sponte can dismiss the case prior to service on the

 defendants for failure to state a claim. Carbe v. Lappin, 492 F.3d 325, 327-328 (5th Cir. 2007).



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        In his complaint, plaintiff requested to stay the proceedings until he is able to exhaust all

 administrative remedies through the grievance procedure and stated that he was waiting on several

 of his administrative remedies to be exhausted. Thus, plaintiff made clear in his complaint and

 notice of exhaustion of administrative remedies that he had not exhausted the available prison

 grievance procedure prior to filing this action.

        The Supreme Court has explained that prisoners must exhaust available administrative

 remedies in accordance with all procedural rules, including deadlines, as a precondition to bringing

 suit in federal court. Woodford v. Ngo, 548 U.S. 81, 126 S.Ct. 2378, 2382, 2387, 165 L.Ed.2d 368

 (2006). The Fifth Circuit has made clear that administrative remedies must be exhausted prior to
 filing a lawsuit rather than while the action is pending. See Gonzalez v. Seal, 702 F.3d 785, 788 (5th

 Cir. 2012) (“there can be no doubt that pre-filing exhaustion of prison grievance processes is

 mandatory”). Accordingly, this complaint should be dismissed without prejudice for failure to state

 a claim upon which relief may be granted. The dismissal should be without prejudice to plaintiff’s

 ability to file a new complaint should he chose to do so.

                                          Recommendation

        Plaintiff’s complaint should be dismissed without prejudice.

                                              Objections

        Within fourteen days after being served with a copy of the magistrate judge’s report, any

 party may serve and file written objections to the findings of facts, conclusions of law and

 recommendations of the magistrate judge. 28 U.S.C. § 636 (b)(1)(C).

        Failure to file written objections to the proposed findings of facts, conclusions of law and

 recommendations contained within this report within fourteen days after service shall bar an

 aggrieved party from the entitlement of de novo review by the district court of the proposed findings,

 conclusions and recommendations and from appellate review of factual findings and legal

 conclusions accepted by the district court except on grounds of plain error. See Douglass v. United
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 Services Automobile Association, 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc); 28 U.S.C.

 § 636(b)(1); FED. R. CIV. P. 72.


                   SIGNED this the 26th day of October, 2018.




                                                 ____________________________________
                                                 KEITH F. GIBLIN
                                                 UNITED STATES MAGISTRATE JUDGE




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